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                       EXHIBIT 10
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


  ALEXIS LEAH FREEMAN GIBSON as                     Case No. 5:23cv5118-TLB
  Ancillary Personal Representative of the
  ESTATE OF WYATT GARY GIBSON,
  Deceased and ALL WRONGFUL DEATH
  BENEFICIARIES;                                    Complaint Filed: July 12, 2023
                              Plaintiffs,
            vs.

  CONSUMER TESTING LABORATORIES,
  INC., UL VERIFICATION SERVICES, INC.,
  EARTHBOUND LICENSING, LLC,
  EARTHBOUND LLC, EARTHBOUND PW
  LLC, ROBERT BURGESS d/b/a BURGESS
  GROUP a/k/a BOB BURGESS AND
  ASSOCIATES, MELISSA METCALFE,
  MANE USA, INC., GALA NORTH
  AMERICA, INC., and JOHN DOES 1-10,
                              Defendants.




             ROBERT BURGESS’S SUPPLEMENTAL INITIAL DISCLOSURES

        Pursuant to Fed. R. Civ. P. 26(a), Robert Burgess d/b/a Burgess Group a/k/a Bob Burgess

 and Associates (“Burgess Group”) makes the following Supplemental Initial Disclosures:

        In making these disclosures, Burgess Group does not waive any privilege or protection

 pursuant to the attorney-client privilege, the attorney-work product doctrine, or any other

 applicable privilege, doctrine or immunity. Burgess Group reserves the right to further amend or

 supplement these initial disclosures as additional discovery, investigation, and analysis may

 warrant.

                  i.   The name, address, and telephone number of each individual likely to

        have discoverable information that the disclosing party may use to support its claims
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           or defenses, unless solely for impeachment, identifying the subjects of the

           information.

           (l) Current and former employees of Gala North America, Inc, Gala Group and/or

                 Korona Candle, Inc. However, the specific employees who may have knowledge are

                 unknown at this time. Burgess Group reserves the right to identify specific employees

                 as they become known via the discovery process.

           The above people potentially have knowledge of the alleged accident and/or claimed

 injury.

                  ii.       A copy of or a description by category and location of all documents,

           data compilations and tangible things that are in the possession, custody or control of

           the party and that the disclosing party may use to support its claims or defenses unless

           solely for impeachment.

           (a) Contract between Korona Candle Inc. and Burgess Group, which is Bates-labeled

                 as BG-WG-0128 through BG-WG-0136.

           (b) Emails and correspondences between the Burgess Group, Gala North America, Inc,

                 Gala Group and/or Korona Candle Inc., and Walmart Inc. related to the request for

                 proposal, bid process and preproduction approval for the subject product.

           Burgess Group reserves the right to supplement additional documents that may be

 discovered by the Burgess Group to be used in support of the claims or defenses or determined for

 use at trial.




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                                           Respectfully Submitted,
                                           MITCHELL, WILLIAMS, SELIG,
                                           GATES & WOODYARD, P.L.L.C.
                                           4206 South J.B. Hunt Drive, Ste. 200
                                           Rogers, Arkansas 72758
                                           Telephone: (479) 464-5670
                                           smiller@mwlaw.com
                                           jmcelroy@ mwlaw.com

                                           By:     /s/ Jacob A. McElroy
                                           Stuart P. Miller (Ark Bar No. 88137)
                                           Jacob A. McElroy (Ark Bar No. 2017242)




                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was served upon all parties of record in
 accordance with the Federal Rules of Civil Procedure on this 16th day of October, 2023:




                                                          /s/ Jacob A. McElroy
                                                          Jacob A. McElroy




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